Filed 04/16/19                                                             Case 19-22354                                                                   Doc 1

  Fill in this information to identify your case:

  United States Bankruptcy Court for the:

  EASTERN DISTRICT OF CALIFORNIA

  Case number (if known)                                                        Chapter you are filing under:

                                                                                   Chapter 7
                                                                                   Chapter 11
                                                                                   Chapter 12
                                                                                   Chapter 13                                       Check if this an
                                                                                                                                    amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
 The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


  Part 1:   Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

  1.   Your full name

       Write the name that is on     Randall                                                         Kathleen
       your government-issued        First name                                                      First name
       picture identification (for
       example, your driver's        Lance                                                           Marie
       license or passport).         Middle name                                                     Middle name
       Bring your picture
       identification to your
                                     Redmond                                                         Rodia
       meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




  2.   All other names you have
       used in the last 8 years                                                                      Kathleen Marie Redmond
       Include your married or
       maiden names.



  3.   Only the last 4 digits of
       your Social Security
       number or federal             xxx-xx-3750                                                     xxx-xx-5442
       Individual Taxpayer
       Identification number
       (ITIN)




 Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
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  Debtor 1   Randall Lance Redmond
  Debtor 2   Kathleen Marie Rodia                                                                       Case number (if known)




                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

  4.   Any business names and
       Employer Identification
       Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
       used in the last 8 years

       Include trade names and     Business name(s)                                              Business name(s)
       doing business as names

                                   EINs                                                          EINs




  5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                   3140 Pioneer Hill Road
                                   Placerville, CA 95667
                                   Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                   El Dorado
                                   County                                                        County

                                   If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                       mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




  6.   Why you are choosing        Check one:                                                    Check one:
       this district to file for
       bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any               have lived in this district longer than in any other
                                          other district.                                                district.

                                          I have another reason.                                         I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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  Debtor 1    Randall Lance Redmond
  Debtor 2    Kathleen Marie Rodia                                                                          Case number (if known)



  Part 2:    Tell the Court About Your Bankruptcy Case

  7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
       Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       choosing to file under
                                   Chapter 7
                                       Chapter 11
                                       Chapter 12
                                       Chapter 13



  8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                           about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                           order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                           a pre-printed address.
                                           I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                           The Filing Fee in Installments (Official Form 103A).
                                           I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                           but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                           applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                           the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



  9.   Have you filed for             No.
       bankruptcy within the
       last 8 years?                  Yes.
                                                District                                  When                            Case number
                                                District                                  When                            Case number
                                                District                                  When                            Case number



  10. Are any bankruptcy              No
      cases pending or being
      filed by a spouse who is        Yes.
      not filing this case with
      you, or by a business
      partner, or by an
      affiliate?
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known
                                                Debtor                                                                   Relationship to you
                                                District                                  When                           Case number, if known



  11. Do you rent your                No.        Go to line 12.
      residence?
                                      Yes.       Has your landlord obtained an eviction judgment against you?
                                                           No. Go to line 12.
                                                           Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                           this bankruptcy petition.




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
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  Debtor 1    Randall Lance Redmond
  Debtor 2    Kathleen Marie Rodia                                                                           Case number (if known)



  Part 3:    Report About Any Businesses You Own as a Sole Proprietor

  12. Are you a sole proprietor
      of any full- or part-time         No.      Go to Part 4.
      business?
                                        Yes.     Name and location of business
       A sole proprietorship is a
       business you operate as                   Name of business, if any
       an individual, and is not a
       separate legal entity such
       as a corporation,
       partnership, or LLC.
       If you have more than one                 Number, Street, City, State & ZIP Code
       sole proprietorship, use a
       separate sheet and attach
       it to this petition.                      Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

  13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U.S.C. 1116(1)(B).
      debtor?
                                        No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
                                        No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
       U.S.C. § 101(51D).
                                                 Code.

                                        Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


  Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

  14. Do you own or have any            No.
      property that poses or is
      alleged to pose a threat          Yes.
      of imminent and                          What is the hazard?
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs                      If immediate attention is
      immediate attention?                     needed, why is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,             Where is the property?
       or a building that needs
       urgent repairs?
                                                                             Number, Street, City, State & Zip Code




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
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  Debtor 1    Randall Lance Redmond
  Debtor 2    Kathleen Marie Rodia                                                                       Case number (if known)

  Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                       About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
  15. Tell the court whether           You must check one:                                           You must check one:
      you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
      briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
      counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                           certificate of completion.                                    completion.
       The law requires that you
       receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
       credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
       you file for bankruptcy.
       You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
       one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
       choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
       so, you are not eligible to         a certificate of completion.                                  of completion.
       file.
                                           Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
       If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
       can dismiss your case, you          payment plan, if any.                                         any.
       will lose whatever filing fee
       you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
       creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
       collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                           days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                           circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                           of the requirement.
                                                                                                         To ask for a 30-day temporary waiver of the requirement,
                                           To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                           requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                           what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                           you were unable to obtain it before you filed for             circumstances required you to file this case.
                                           bankruptcy, and what exigent circumstances
                                           required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                         with your reasons for not receiving a briefing before you
                                           Your case may be dismissed if the court is                    filed for bankruptcy.
                                           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                           If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                           still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                           You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                           agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                           developed, if any. If you do not do so, your case
                                                                                                         Any extension of the 30-day deadline is granted only for
                                           may be dismissed.
                                                                                                         cause and is limited to a maximum of 15 days.
                                           Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15
                                           days.
                                           I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                           credit counseling because of:                                 counseling because of:

                                                 Incapacity.                                                  Incapacity.
                                                 I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                                 that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                                 making rational decisions about finances.                    decisions about finances.

                                                 Disability.                                                  Disability.
                                                 My physical disability causes me to be                       My physical disability causes me to be unable to
                                                 unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                                 by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                                 reasonably tried to do so.                                   do so.

                                                 Active duty.                                                 Active duty.
                                                 I am currently on active military duty in a                  I am currently on active military duty in a military
                                                 military combat zone.                                        combat zone.
                                           If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                           briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                           motion for waiver credit counseling with the court.           of credit counseling with the court.




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
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  Debtor 1    Randall Lance Redmond
  Debtor 2    Kathleen Marie Rodia                                                                          Case number (if known)

  Part 6:    Answer These Questions for Reporting Purposes

  16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
      you have?                              individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



  17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
      Chapter 7?

       Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                   No
       are paid that funds will
       be available for                          Yes
       distribution to unsecured
       creditors?

  18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
      you estimate that you                                                            5001-10,000                                   50,001-100,000
      owe?                            50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

  19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
      estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
      to be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


  Part 7:    Sign Below

  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Randall Lance Redmond                                         /s/ Kathleen Marie Rodia
                                   Randall Lance Redmond                                             Kathleen Marie Rodia
                                   Signature of Debtor 1                                             Signature of Debtor 2

                                   Executed on     April 15, 2019                                    Executed on     April 15, 2019
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




  Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
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  Debtor 1   Randall Lance Redmond
  Debtor 2   Kathleen Marie Rodia                                                                           Case number (if known)




  For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
  represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
  If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
  an attorney, you do not need    schedules filed with the petition is incorrect.
  to file this page.
                                  /s/ Jon L. Zitomer                                                 Date         April 15, 2019
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Jon L. Zitomer 98754
                                  Printed name

                                  Zitomer & Roberts, P.C.
                                  Firm name

                                  3420 Coach Lane
                                  Ste. 8A
                                  Cameron Park, CA 95682
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     530-676-8041                               Email address         jonzitomer@cameornparklaw.com
                                  98754 CA
                                  Bar number & State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
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Filed 04/16/19   Case 19-22354   Doc 1
Filed 04/16/19                                                                           Case 19-22354                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Randall Lance Redmond
                                First Name                           Middle Name                          Last Name

     Debtor 2                   Kathleen Marie Rodia
     (Spouse if, filing)        First Name                           Middle Name                          Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                      amended filing



    Official Form 106Sum
    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
    your original forms, you must fill out a new Summary and check the box at the top of this page.

     Part 1:        Summarize Your Assets

                                                                                                                                                                     Your assets
                                                                                                                                                                     Value of what you own

     1.     Schedule A/B: Property (Official Form 106A/B)
            1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             475,000.00

            1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              26,574.00

            1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             501,574.00

     Part 2:        Summarize Your Liabilities

                                                                                                                                                                     Your liabilities
                                                                                                                                                                     Amount you owe

     2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
            2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             383,149.00

     3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
            3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

            3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             198,385.00


                                                                                                                                         Your total liabilities $               581,534.00


     Part 3:        Summarize Your Income and Expenses

     4.     Schedule I: Your Income (Official Form 106I)
            Copy your combined monthly income from line 12 of Schedule I................................................................................             $                4,644.00

     5.     Schedule J: Your Expenses (Official Form 106J)
            Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,264.00

     Part 4:        Answer These Questions for Administrative and Statistical Records

     6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
                 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

               Yes
     7.     What kind of debt do you have?

                    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                    household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
     Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
Filed 04/16/19                                                             Case 19-22354                                                                  Doc 1
     Debtor 1      Randall Lance Redmond
     Debtor 2      Kathleen Marie Rodia                                                       Case number (if known)

     8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
           122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $       6,391.67


     9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                             Total claim
           From Part 4 on Schedule E/F, copy the following:

           9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

           9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

           9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

           9d. Student loans. (Copy line 6f.)                                                                 $              0.00

           9e. Obligations arising out of a separation agreement or divorce that you did not report as
               priority claims. (Copy line 6g.)                                                               $              0.00

           9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


           9g. Total. Add lines 9a through 9f.                                                           $                 0.00




    Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
Filed 04/16/19                                                                               Case 19-22354                                                                                 Doc 1
     Fill in this information to identify your case and this filing:

     Debtor 1                    Randall Lance Redmond
                                 First Name                                 Middle Name                    Last Name

     Debtor 2                    Kathleen Marie Rodia
     (Spouse, if filing)         First Name                                 Middle Name                    Last Name


     United States Bankruptcy Court for the:                      EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                     amended filing



    Official Form 106A/B
    Schedule A/B: Property                                                                                                                                          12/15
    In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
    think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
    Answer every question.

     Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

            No. Go to Part 2.

            Yes. Where is the property?




     1.1                                                                            What is the property? Check all that apply
            Family home located at                                                         Single-family home                         Do not deduct secured claims or exemptions. Put
            3140 Pioneer Hill Road                                                         Duplex or multi-unit building              the amount of any secured claims on Schedule D:
            Street address, if available, or other description                                                                        Creditors Who Have Claims Secured by Property.
                                                                                           Condominium or cooperative

                                                                                           Manufactured or mobile home
                                                                                                                                      Current value of the      Current value of the
            Placerville                       CA        95667-0000                         Land                                       entire property?          portion you own?
            City                              State              ZIP Code                  Investment property                               $475,000.00                $475,000.00
                                                                                           Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                           Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                    Who has an interest in the property? Check one    a life estate), if known.
                                                                                           Debtor 1 only                              Owners
            El Dorado                                                                      Debtor 2 only
            County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                           At least one of the debtors and another         (see instructions)
                                                                                    Other information you wish to add about this item, such as local
                                                                                    property identification number:




     2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
        pages you have attached for Part 1. Write that number here...........................................................................=>                      $475,000.00

     Part 2: Describe Your Vehicles

    Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
    someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




    Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
Filed 04/16/19                                                                        Case 19-22354                                                                                  Doc 1
     Debtor 1        Randall Lance Redmond
     Debtor 2        Kathleen Marie Rodia                                                                               Case number (if known)

    3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

            No
            Yes


      3.1    Make:       Jeep                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      Cherokee                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       2016                                            Debtor 2 only
                                                                                                                                  Current value of the     Current value of the
             Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?         portion you own?
             Other information:                                          At least one of the debtors and another


                                                                         Check if this is community property                              $17,300.00                 $17,300.00
                                                                         (see instructions)



      3.2    Make:       Jeep                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                  the amount of any secured claims on Schedule D:
             Model:      Grand Cherokee                                  Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
             Year:       2006                                            Debtor 2 only
                                                                                                                                  Current value of the     Current value of the
             Approximate mileage:                 153000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
             Other information:                                          At least one of the debtors and another
             Needs work
                                                                         Check if this is community property                                $3,500.00                  $3,500.00
                                                                         (see instructions)




    4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

            No
            Yes



     5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
       .pages you have attached for Part 2. Write that number here.............................................................................=>                 $20,800.00


     Part 3: Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
    6. Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware
         No
            Yes. Describe.....

                                        Household goods, furnishings, and applicances                                                                                   $2,000.00


                                        Misc. CDs and videos                                                                                                              $500.00


    7. Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                  including cell phones, cameras, media players, games
          No
            Yes. Describe.....

                                        TV, video, and computer equipment                                                                                               $1,000.00



    Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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     Debtor 1          Randall Lance Redmond
     Debtor 2          Kathleen Marie Rodia                                                                                       Case number (if known)

    8. Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                   other collections, memorabilia, collectibles
            No
            Yes. Describe.....

    9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
                 musical instruments
         No
            Yes. Describe.....

                                                Lawnmower, chainsaw, and other misc. hand and power tools                                                                 $400.00


    10. Firearms
         Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe.....

    11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe.....

    12. Jewelry
         Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
          No
            Yes. Describe.....

                                                Wedding bands and other misc. personal jewelry                                                                          $1,500.00


    13. Non-farm animals
        Examples: Dogs, cats, birds, horses
         No
            Yes. Describe.....

                                                Pet dogs (sentimental value only)                                                                                             $0.00


    14. Any other personal and household items you did not already list, including any health aids you did not list
            No
            Yes. Give specific information.....


     15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
         for Part 3. Write that number here ..............................................................................                                          $5,400.00


     Part 4: Describe Your Financial Assets
     Do you own or have any legal or equitable interest in any of the following?                                                                           Current value of the
                                                                                                                                                           portion you own?
                                                                                                                                                           Do not deduct secured
                                                                                                                                                           claims or exemptions.

    16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
            No
            Yes................................................................................................................




    Official Form 106A/B                                                                       Schedule A/B: Property                                                         page 3
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     Debtor 1         Randall Lance Redmond
     Debtor 2         Kathleen Marie Rodia                                                                            Case number (if known)

    17. Deposits of money
        Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                      institutions. If you have multiple accounts with the same institution, list each.
         No
         Yes........................                                     Institution name:

                                                       Checking and
                                              17.1.    savings accounts             Golden One Credit Union                                             $15.00


                                                       Checking and cash
                                              17.2.    reserve accounts  Union Bank                                                                   $200.00



                                              17.3.    Savings account              Travis Credit Union                                               $159.00


    18. Bonds, mutual funds, or publicly traded stocks
        Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes..................                     Institution or issuer name:

    19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
        joint venture
            No
            Yes. Give specific information about them...................
                                       Name of entity:                                                                 % of ownership:

    20. Government and corporate bonds and other negotiable and non-negotiable instruments
        Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
        Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific information about them
                                        Issuer name:

    21. Retirement or pension accounts
        Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
            No
            Yes. List each account separately.
                                    Type of account:                                Institution name:

    22. Security deposits and prepayments
        Your share of all unused deposits you have made so that you may continue service or use from a company
        Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
            No
            Yes. .....................                                              Institution name or individual:

    23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
            No
            Yes.............             Issuer name and description.

    24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
        26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
            No
            Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

    25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
            No
            Yes. Give specific information about them...

    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific information about them...
    Official Form 106A/B                                                     Schedule A/B: Property                                                       page 4
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Filed 04/16/19                                                                            Case 19-22354                                                                                      Doc 1
     Debtor 1        Randall Lance Redmond
     Debtor 2        Kathleen Marie Rodia                                                                                            Case number (if known)


    27. Licenses, franchises, and other general intangibles
         Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
            No
            Yes. Give specific information about them...

     Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.

    28. Tax refunds owed to you
            No
            Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



    29. Family support
         Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information......


    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
                  benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information..

    31. Interests in insurance policies
         Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
          No
            Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                                        Beneficiary:                              Surrender or refund
                                                                                                                                                                    value:

                                                 Term life insurance policies through
                                                 Transamerica
                                                 (no current cash value)                                                                                                              $0.00


    32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
        someone has died.
            No
            Yes. Give specific information..


    33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim.........

    34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
            No
            Yes. Describe each claim.........

    35. Any financial assets you did not already list
            No
            Yes. Give specific information..


     36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
         for Part 4. Write that number here.....................................................................................................................              $374.00


     Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
    Official Form 106A/B                                                           Schedule A/B: Property                                                                             page 5
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Filed 04/16/19                                                                                Case 19-22354                                                                                 Doc 1
     Debtor 1         Randall Lance Redmond
     Debtor 2         Kathleen Marie Rodia                                                                                                  Case number (if known)


    37. Do you own or have any legal or equitable interest in any business-related property?
           No. Go to Part 6.
           Yes. Go to line 38.



     Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


    46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.
               Yes. Go to line 47.


     Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership
            No
            Yes. Give specific information.........


     54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                   $0.00

     Part 8:         List the Totals of Each Part of this Form

     55. Part 1: Total real estate, line 2 ......................................................................................................................          $475,000.00
     56. Part 2: Total vehicles, line 5                                                                           $20,800.00
     57. Part 3: Total personal and household items, line 15                                                       $5,400.00
     58. Part 4: Total financial assets, line 36                                                                     $374.00
     59. Part 5: Total business-related property, line 45                                                              $0.00
     60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
     61. Part 7: Total other property not listed, line 54                                             +                $0.00

     62. Total personal property. Add lines 56 through 61...                                                      $26,574.00              Copy personal property total       $26,574.00

     63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $501,574.00




    Official Form 106A/B                                                               Schedule A/B: Property                                                                        page 6
    Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                    Best Case Bankruptcy
Filed 04/16/19                                                                  Case 19-22354                                                                              Doc 1
     Fill in this information to identify your case:

     Debtor 1                 Randall Lance Redmond
                              First Name                        Middle Name                 Last Name

     Debtor 2                 Kathleen Marie Rodia
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (if known).

    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

     Part 1:        Identify the Property You Claim as Exempt

     1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

               You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

               You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
          Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property                    portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

          Family home located at 3140 Pioneer                            $475,000.00                              $100,000.00      C.C.P. § 704.730
          Hill Road Placerville, CA 95667 El
          Dorado County                                                                        100% of fair market value, up to
          Line from Schedule A/B: 1.1                                                          any applicable statutory limit

          2016 Jeep Cherokee                                              $17,300.00                                 $3,325.00     C.C.P. § 704.010
          Line from Schedule A/B: 3.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          Household goods, furnishings, and                                $2,000.00                                 $2,000.00     C.C.P. § 704.020
          applicances
          Line from Schedule A/B: 6.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit

          Misc. CDs and videos                                                $500.00                                  $500.00     C.C.P. § 704.020
          Line from Schedule A/B: 6.2
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit

          TV, video, and computer equipment                                $1,000.00                                 $1,000.00     C.C.P. § 704.020
          Line from Schedule A/B: 7.1
                                                                                               100% of fair market value, up to
                                                                                               any applicable statutory limit




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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Filed 04/16/19                                                                  Case 19-22354                                                                                Doc 1
     Debtor 1    Randall Lance Redmond
     Debtor 2    Kathleen Marie Rodia                                                                        Case number (if known)

         Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B that lists this property                     portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

         Lawnmower, chainsaw, and other                                      $400.00                                   $400.00        C.C.P. § 704.020
         misc. hand and power tools
         Line from Schedule A/B: 9.1                                                           100% of fair market value, up to
                                                                                               any applicable statutory limit

         Wedding bands and other misc.                                    $1,500.00                                  $1,500.00        C.C.P. § 704.040
         personal jewelry
         Line from Schedule A/B: 12.1                                                          100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
                No
                Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                       No
                       Yes




    Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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Filed 04/16/19                                                                    Case 19-22354                                                                                     Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Randall Lance Redmond
                                First Name                      Middle Name                      Last Name

     Debtor 2                   Kathleen Marie Rodia
     (Spouse if, filing)        First Name                      Middle Name                      Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                       Check if this is an
                                                                                                                                                      amended filing

    Official Form 106D
    Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
    is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
    number (if known).
    1. Do any creditors have claims secured by your property?
               No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
               Yes. Fill in all of the information below.
     Part 1:        List All Secured Claims
                                                                                                                Column A               Column B                Column C
     2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
     for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
     much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                                value of collateral.   claim                   If any
             Central Loan
     2.1     Administration &
             Reporting                                Describe the property that secures the claim:               $345,163.00               $475,000.00                     $0.00
             Creditor's Name                          Family home located at 3140
                                                      Pioneer Hill Road Placerville, CA
                                                      95667 El Dorado County
                                                      As of the date you file, the claim is: Check all that
             P.O. Box 77404                           apply.
             Ewing, NJ 08628                              Contingent
             Number, Street, City, State & Zip Code       Unliquidated
                                                          Disputed
     Who owes the debt? Check one.                    Nature of lien. Check all that apply.
         Debtor 1 only                                    An agreement you made (such as mortgage or secured
         Debtor 2 only                                     car loan)
           Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
         At least one of the debtors and another          Judgment lien from a lawsuit
           Check if this claim relates to a               Other (including a right to offset)
           community debt

     Date debt was incurred                                    Last 4 digits of account number        5930




    Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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Filed 04/16/19                                                                       Case 19-22354                                                                         Doc 1

     Debtor 1 Randall Lance Redmond                                                                               Case number (if known)
                   First Name                  Middle Name                      Last Name
     Debtor 2 Kathleen Marie Rodia
                   First Name                  Middle Name                      Last Name


             El Dorado Cty Treasurer -
     2.2                                                Describe the property that secures the claim:                    $18,700.00        $475,000.00             $0.00
             Tax Collector
             Creditor's Name                            Family home located at 3140
                                                        Pioneer Hill Road Placerville, CA
                                                        95667 El Dorado County
                                                        As of the date you file, the claim is: Check all that
             360 Fair Lane                              apply.
             Placerville, CA 95667                           Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)

           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)   Ygrene PACE Home Improvement Loan
           community debt

     Date debt was incurred                                      Last 4 digits of account number


     2.3     Golden One Credit Union                    Describe the property that secures the claim:                    $13,905.00         $17,300.00             $0.00
             Creditor's Name                            2016 Jeep Cherokee

                                                        As of the date you file, the claim is: Check all that
             P.O. Box 15966                             apply.
             Sacramento, CA 95852                            Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred                                      Last 4 digits of account number         7569

     2.4     Travis Credit Union                        Describe the property that secures the claim:                      $5,381.00         $3,500.00       $1,881.00
             Creditor's Name                            2006 Jeep Grand Cherokee 153000
                                                        miles
                                                        Needs work
                                                        As of the date you file, the claim is: Check all that
             P.O. Box 2069                              apply.
             Vacaville, CA 95696                             Contingent
             Number, Street, City, State & Zip Code          Unliquidated
                                                             Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.
        Debtor 1 only                                        An agreement you made (such as mortgage or secured
        Debtor 2 only                                         car loan)
           Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
        At least one of the debtors and another              Judgment lien from a lawsuit
           Check if this claim relates to a                  Other (including a right to offset)
           community debt

     Date debt was incurred                                      Last 4 digits of account number         7967


    Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
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Filed 04/16/19                                                               Case 19-22354                                                                                  Doc 1

     Debtor 1 Randall Lance Redmond                                                                  Case number (if known)
                  First Name                Middle Name                  Last Name
     Debtor 2 Kathleen Marie Rodia
                  First Name                Middle Name                  Last Name




       Add the dollar value of your entries in Column A on this page. Write that number here:                        $383,149.00
       If this is the last page of your form, add the dollar value totals from all pages.
       Write that number here:                                                                                       $383,149.00

     Part 2:    List Others to Be Notified for a Debt That You Already Listed
     Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
     trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
     than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
     debts in Part 1, do not fill out or submit this page.




    Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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Filed 04/16/19                                                                     Case 19-22354                                                                                            Doc 1
     Fill in this information to identify your case:

     Debtor 1                   Randall Lance Redmond
                                First Name                      Middle Name                       Last Name

     Debtor 2                   Kathleen Marie Rodia
     (Spouse if, filing)        First Name                      Middle Name                       Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                               Check if this is an
                                                                                                                                                              amended filing

    Official Form 106E/F
    Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
    Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
    any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
    Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
    Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
    left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
    name and case number (if known).
     Part 1:        List All of Your PRIORITY Unsecured Claims
     1.    Do any creditors have priority unsecured claims against you?

               No. Go to Part 2.
               Yes.
     Part 2:        List All of Your NONPRIORITY Unsecured Claims
     3.    Do any creditors have nonpriority unsecured claims against you?

               No. You have nothing to report in this part. Submit this form to the court with your other schedules.

               Yes.

     4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
           unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
           than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
           Part 2.
                                                                                                                                                                  Total claim

     4.1          PayPal Credit - Synchrony Bank                          Last 4 digits of account number         0446                                                        $4,042.00
                  Nonpriority Creditor's Name
                  P.O. Box 5138                                           When was the debt incurred?             Revolving
                  Timonium, MD 21094
                  Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                      Debtor 1 only
                                                                              Contingent
                      Debtor 2 only
                                                                              Unliquidated
                      Debtor 1 and Debtor 2 only                              Disputed
                      At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                      Check if this claim is for a community                  Student loans
                  debt                                                       Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                         report as priority claims

                      No                                                      Debts to pension or profit-sharing plans, and other similar debts

                      Yes                                                     Other. Specify   Credit card




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.2      AT&T Universal Card                                        Last 4 digits of account number       3376                                               $259.00
              Nonpriority Creditor's Name
              P.O. Box 78045                                             When was the debt incurred?           Revolving
              Phoenix, AZ 85062-8045
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card charges


     4.3      Bank of America                                            Last 4 digits of account number       4779                                           $16,701.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revolving
              P.O. Box 15019
              Wilmington, DE 19886-5019
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card charges


     4.4      Barclay's Bank Delaware                                    Last 4 digits of account number       7722                                             $1,547.00
              Nonpriority Creditor's Name
              P.O. Box 8803                                              When was the debt incurred?           Revolving
              Wilmington, DE 19899-8803
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Aadvantage Aviator Mastercard




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.5      Capital One Services                                       Last 4 digits of account number       1762                                             $4,080.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Quicksilver Platinum Mastercrd


     4.6      Capital One Services                                       Last 4 digits of account number       4815                                             $3,971.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Venture Mastercard


     4.7      Capital One Services                                       Last 4 digits of account number       0977                                             $1,780.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Mastercard




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.8      Capital One Services                                       Last 4 digits of account number       2416                                             $1,081.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Mastercard


     4.9      Capital One Services                                       Last 4 digits of account number       5611                                             $1,049.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charolotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Visa credit card


     4.1
     0        Capital One Services                                       Last 4 digits of account number       5417                                             $1,084.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Mastercard




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.1
     1        Capital One Services                                       Last 4 digits of account number       9027                                             $2,375.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Mastercard


     4.1
     2        Capital One Services                                       Last 4 digits of account number       2883                                             $4,251.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Visa


     4.1
     3        Capital One Services                                       Last 4 digits of account number       4873                                             $1,449.00
              Nonpriority Creditor's Name
              P.O. Box 70886                                             When was the debt incurred?           Revolving
              Charlotte, NC 27272-9903
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Visa




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.1
     4        Care Credit/Synchrony Bank                                 Last 4 digits of account number       0259                                               $170.00
              Nonpriority Creditor's Name
              P.O. Box 965060                                            When was the debt incurred?           Revolving
              Orlando, FL 32896
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Vet bill


     4.1
     5        Chase Card Services                                        Last 4 digits of account number       1729                                             $9,331.00
              Nonpriority Creditor's Name
              Attn: Cardmember Services                                  When was the debt incurred?           Revolving
              P.O. Box 15548
              Wilmington, DE 19886-5548
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Slate Visa credit card


     4.1
     6        Chase Southwest                                            Last 4 digits of account number       0891                                             $4,993.00
              Nonpriority Creditor's Name
              Cardmember Services                                        When was the debt incurred?           Revolving
              P.O. Box 15548
              Wilmington, DE 19886-5548
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Rapid Rewards Visa credit card




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.1
     7        Chevron/Synchrony Bank                                     Last 4 digits of account number       1696                                           $17,431.00
              Nonpriority Creditor's Name
              Attn: Cardmember Services                                  When was the debt incurred?           Revolving
              P.O. Box 105980
              Atlanta, GA 30353
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Gas credit card


     4.1
     8        Chevron/Synchrony Bank                                     Last 4 digits of account number       5717                                             $1,785.00
              Nonpriority Creditor's Name
              Attn: Cardmember Services                                  When was the debt incurred?           Revolving
              P.O. Box 105980
              Atlanta, GA 30353
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Gas credit card


     4.1
     9        Citi Cards                                                 Last 4 digits of account number       4391                                             $2,978.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revolving
              P.O. Box 78045
              Phoenix, AZ 85062-8045
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Mastercard




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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.2
     0        Citi Cards                                                 Last 4 digits of account number       8714                                             $9,284.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revolving
              P.O. Box 78045
              Phoenix, AZ 85062-8045
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Mastercard


     4.2
     1        Citi Cards                                                 Last 4 digits of account number       2759                                             $5,085.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revolving
              P.O. Box 78045
              Phoenix, AZ 85062-8045
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Mastercard


     4.2
     2        Citi Cards                                                 Last 4 digits of account number       8216                                             $6,769.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revolving
              P.O. Box 78019
              Phoenix, AZ 85062-8019
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Costco credit card




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     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.2
     3        Citi Cards                                                 Last 4 digits of account number       7240                                             $8,533.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revoving
              P.O. Box 78045
              Phoenix, AZ 85062-8045
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Diamond Masstercard Preferred


     4.2
     4        Citi Cards - AT&T Universal Card                           Last 4 digits of account number       3376                                             $1,553.00
              Nonpriority Creditor's Name
              Attn: Credit Card Services                                 When was the debt incurred?           Revolving
              P.O. Box 78045
              Phoenix, AZ 85062-8045
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Mastercard


     4.2
     5        Citibanks - Shell Card                                     Last 4 digits of account number       x777                                               $840.00
              Nonpriority Creditor's Name
              Credit Card Services                                       When was the debt incurred?           Revolving
              P.O. Box 6402
              Sioux Falls, SD 57117-6402
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Gas credit card




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     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.2
     6        Comenity - HSN                                             Last 4 digits of account number       9541                                             $2,105.00
              Nonpriority Creditor's Name
              P.O. Box 659707                                            When was the debt incurred?           Revolving
              San Antonio, TX 78265-9707
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card


     4.2
     7        Comenity - Improvements                                    Last 4 digits of account number                                                          $527.00
              Nonpriority Creditor's Name
              P.O. Box 659707                                            When was the debt incurred?           Revolving
              San Antonio, TX 78265-9707
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card charges


     4.2
     8        Discover Card Services                                     Last 4 digits of account number       4611                                             $4,558.00
              Nonpriority Creditor's Name
              P.O. Box 6103                                              When was the debt incurred?           Revolving
              Carol Stream, IL 60197-6103
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Miles Card




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Filed 04/16/19                                                                    Case 19-22354                                                                               Doc 1
     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.2
     9        First National Bank of Omaha                               Last 4 digits of account number       2305                                             $1,374.00
              Nonpriority Creditor's Name
              Credit Card Services                                       When was the debt incurred?           Revolving
              P.O. Box 2557
              Omaha, NE 68103-2557
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Visa credit card


     4.3
     0        Home Depot Credit Services                                 Last 4 digits of account number       4767                                             $8,002.00
              Nonpriority Creditor's Name
              P.O. Box 78011                                             When was the debt incurred?           Revolving
              Phoenix, AZ 85062-8011
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card


     4.3
     1        Mission Federal Credit Union                               Last 4 digits of account number       6359                                             $9,886.00
              Nonpriority Creditor's Name
              Credit Card Services                                       When was the debt incurred?           Revolving
              P.O. Box 919023
              San Diego, CA 92191-9023
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Platinum Mastercard




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 17
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Filed 04/16/19                                                                    Case 19-22354                                                                               Doc 1
     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.3
     2        PayPal Credit - Synchrony Bank                             Last 4 digits of account number       8006                                             $4,362.00
              Nonpriority Creditor's Name
              P.O. Box 5138                                              When was the debt incurred?           Revolving
              Timonium, MD 21094
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card


     4.3      PayPal Credit Services - Synchrony
     3        Bank                                                       Last 4 digits of account number       6769                                             $4,090.00
              Nonpriority Creditor's Name
              P.O. Box 965060                                            When was the debt incurred?           Revolving
              Orlando, FL 32896-5060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card


     4.3
     4        Sears Credit/Citibank                                      Last 4 digits of account number       8984                                             $3,208.00
              Nonpriority Creditor's Name
              Attn: Cardmember Services                                  When was the debt incurred?           Revolving
              P.O. Box 78051
              Phoenix, AZ 85062-8051
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Sears credit card




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 17
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Filed 04/16/19                                                                    Case 19-22354                                                                               Doc 1
     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.3
     5        Sychrony Bank - Amazon                                     Last 4 digits of account number       9001                                             $4,445.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept.                                     When was the debt incurred?           Revolving
              P.O. Box 965060
              Orlando, FL 32896-5060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit Card charges


     4.3
     6        Sychrony Bank - Evine                                      Last 4 digits of account number       0040                                               $206.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept.                                     When was the debt incurred?           Revolving
              P.O. Box 965060
              Orlando, FL 32896-5060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card charges


     4.3
     7        Sychrony Bank - QCard                                      Last 4 digits of account number       3341                                               $738.00
              Nonpriority Creditor's Name
              Attn: Bankruptcy Dept.                                     When was the debt incurred?           Revolving
              P.O. Box 965060
              Orlando, FL 32896-5060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card




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Filed 04/16/19                                                                    Case 19-22354                                                                               Doc 1
     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.3
     8        Target Card Services                                       Last 4 digits of account number       9525                                             $6,027.00
              Nonpriority Creditor's Name
              P.O. Box 660170                                            When was the debt incurred?           Revolving
              Dallas, TX 75266-0170
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Redcard Mastercard


     4.3
     9        TJX Rewards/SYNCB                                          Last 4 digits of account number       9617                                             $2,021.00
              Nonpriority Creditor's Name
              Cardmember Services                                        When was the debt incurred?           Revolving
              P.0. Box 965060
              Orlando, FL 32896-5060
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Mastercard charges


     4.4
     0        Tractor Supply - Citibank                                  Last 4 digits of account number       0218                                             $2,100.00
              Nonpriority Creditor's Name
              P.O. Box 6403                                              When was the debt incurred?           Revolving
              Sioux Falls, SD 57117-6403
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card




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Filed 04/16/19                                                                    Case 19-22354                                                                               Doc 1
     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.4
     1        Union Bank                                                 Last 4 digits of account number       4690                                             $2,538.00
              Nonpriority Creditor's Name
              Credit Card Services                                       When was the debt incurred?           Revolving
              P.O. Box 60398
              Phoenix, AZ 85082-0398
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Visa credit card


     4.4
     2        Union Bank                                                 Last 4 digits of account number       8392                                             $5,792.00
              Nonpriority Creditor's Name
              Credit Card Services                                       When was the debt incurred?           Revolving
              P.O. Box 60398
              Phoenix, AZ 85082-0398
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Visa credit card


     4.4
     3        Union Bank                                                 Last 4 digits of account number       8334                                             $2,878.00
              Nonpriority Creditor's Name
              P.o. Box 512380                                            When was the debt incurred?
              Los Angeles, CA 90051-0380
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                    Student loans
              debt                                                          Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Cash reserve line of credit




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 17
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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

     4.4
     4         US Bank                                                   Last 4 digits of account number       3343                                           $11,147.00
               Nonpriority Creditor's Name
               Credit Card Services                                      When was the debt incurred?           Revolving
               P.O. Box 108
               Saint Louis, MO 63166-0108
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card


     4.4       Walmart Mastercard/Synchrony
     5         Bank                                                      Last 4 digits of account number       8874                                             $2,901.00
               Nonpriority Creditor's Name
               P.O. Box 965060                                           When was the debt incurred?           Revolving
               Orlando, FL 32896
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card


     4.4       Walmart Mastercard/Synchrony
     6         Bank                                                      Last 4 digits of account number                                                        $7,059.00
               Nonpriority Creditor's Name
               P.O. Box 965060                                           When was the debt incurred?           Revolving
               Orlando, FL 32896
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                  Debtor 1 only
                                                                            Contingent
                  Debtor 2 only
                                                                            Unliquidated
                  Debtor 1 and Debtor 2 only                                Disputed
                  At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                   Student loans
               debt                                                         Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                        Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                       Other. Specify   Credit card

     Part 3:      List Others to Be Notified About a Debt That You Already Listed
    5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
       is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you

    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 17
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     Debtor 1 Randall Lance Redmond
     Debtor 2 Kathleen Marie Rodia                                                                           Case number (if known)

       have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
       notified for any debts in Parts 1 or 2, do not fill out or submit this page.
     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Capital Management Services                                   Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
     (Collection for Discover Bank)                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
     698 1/2 S. Ogden Street
     Buffalo, NY 14206-2317
                                                                   Last 4 digits of account number

     Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
     Phillips & Cohen Associates, Ltd.                             Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
     (Collection for Barclays Bank                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
     Delaware)
     Mail Stop 661
     104 Justison Street
     Wilmington, DE 19801-5148
                                                                   Last 4 digits of account number


     Part 4:      Add the Amounts for Each Type of Unsecured Claim
    6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
       type of unsecured claim.

                                                                                                                                    Total Claim
                            6a.   Domestic support obligations                                                  6a.       $                           0.00
            Total
          claims
      from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                            6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                            6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                            6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                    Total Claim
                            6f.   Student loans                                                                 6f.       $                           0.00
            Total
          claims
      from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                                  you did not report as priority claims                                         6g.       $                           0.00
                            6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                            6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                                  here.                                                                                   $                  198,385.00

                            6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                  198,385.00




    Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 17 of 17
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Filed 04/16/19                                                                       Case 19-22354                                                                      Doc 1
     Fill in this information to identify your case:

     Debtor 1                  Randall Lance Redmond
                               First Name                         Middle Name              Last Name

     Debtor 2                  Kathleen Marie Rodia
     (Spouse if, filing)       First Name                         Middle Name              Last Name


     United States Bankruptcy Court for the:               EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing



    Official Form 106G
    Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
    additional pages, write your name and case number (if known).

    1.      Do you have any executory contracts or unexpired leases?
                  No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
                  Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

    2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


             Person or company with whom you have the contract or lease                      State what the contract or lease is for
                               Name, Number, Street, City, State and ZIP Code
      2.1
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.2
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.3
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.4
               Name


               Number        Street

               City                                     State                   ZIP Code
      2.5
               Name


               Number        Street

               City                                     State                   ZIP Code




    Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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Filed 04/16/19                                                                         Case 19-22354                                                                    Doc 1
     Fill in this information to identify your case:

     Debtor 1                     Randall Lance Redmond
                                  First Name                            Middle Name           Last Name

     Debtor 2                     Kathleen Marie Rodia
     (Spouse if, filing)          First Name                            Middle Name           Last Name


     United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                              Check if this is an
                                                                                                                                             amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12/15

    Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
    people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
    fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
    your name and case number (if known). Answer every question.

           1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

               No
               Yes

           2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

               No. Go to line 3.
               Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                           No
                           Yes.


                             In which community state or territory did you live?              -NONE-          . Fill in the name and current address of that person.


                             Name of your spouse, former spouse, or legal equivalent
                             Number, Street, City, State & Zip Code

       3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
          in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
          Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
          out Column 2.

                    Column 1: Your codebtor                                                                   Column 2: The creditor to whom you owe the debt
                    Name, Number, Street, City, State and ZIP Code                                            Check all schedules that apply:

        3.1                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number               Street
                    City                                        State                          ZIP Code




        3.2                                                                                                      Schedule D, line
                    Name
                                                                                                                 Schedule E/F, line
                                                                                                                 Schedule G, line
                    Number               Street
                    City                                        State                          ZIP Code




    Official Form 106H                                                                    Schedule H: Your Codebtors                                      Page 1 of 1
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Filed 04/16/19                                                         Case 19-22354                                                                          Doc 1



     Fill in this information to identify your case:

     Debtor 1                      Randall Lance Redmond

     Debtor 2                      Kathleen Marie Rodia
     (Spouse, if filing)

     United States Bankruptcy Court for the:       EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                            Check if this is:
     (If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

     Official Form 106I                                                                                        MM / DD/ YYYY
     Schedule I: Your Income                                                                                                                           12/15
    Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

     Part 1:               Describe Employment

     1.     Fill in your employment
            information.                                                Debtor 1                                  Debtor 2 or non-filing spouse

            If you have more than one job,                                 Employed                                  Employed
            attach a separate page with           Employment status
            information about additional                                   Not employed                              Not employed
            employers.
                                                  Occupation            Service manager
            Include part-time, seasonal, or
            self-employed work.                   Employer's name       Folsom Lake RV

            Occupation may include student        Employer's address
                                                                        11373 Folsom Blvd.
            or homemaker, if it applies.
                                                                        Rancho Cordova, CA 95742

                                                  How long employed there?         4 months

     Part 2:               Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.

    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
    more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1       For Debtor 2 or
                                                                                                                             non-filing spouse

            List monthly gross wages, salary, and commissions (before all payroll
     2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        8,000.00      $              0.00

     3.     Estimate and list monthly overtime pay.                                             3.   +$             0.00     +$             0.00

     4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      8,000.00            $        0.00




    Official Form 106I                                                       Schedule I: Your Income                                                page 1
Filed 04/16/19                                                       Case 19-22354                                                                                Doc 1


     Debtor 1   Randall Lance Redmond
     Debtor 2   Kathleen Marie Rodia                                                                  Case number (if known)



                                                                                                          For Debtor 1          For Debtor 2 or
                                                                                                                                non-filing spouse
          Copy line 4 here                                                                     4.         $      8,000.00       $             0.00

     5.   List all payroll deductions:
          5a.   Tax, Medicare, and Social Security deductions                                  5a.        $      1,926.00       $               0.00
          5b.   Mandatory contributions for retirement plans                                   5b.        $          0.00       $               0.00
          5c.   Voluntary contributions for retirement plans                                   5c.        $          0.00       $               0.00
          5d.   Required repayments of retirement fund loans                                   5d.        $          0.00       $               0.00
          5e.   Insurance                                                                      5e.        $      1,430.00       $               0.00
          5f.   Domestic support obligations                                                   5f.        $          0.00       $               0.00
          5g.   Union dues                                                                     5g.        $          0.00       $               0.00
          5h.   Other deductions. Specify:                                                     5h.+       $          0.00 +     $               0.00
     6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,356.00       $               0.00
     7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,644.00       $               0.00
     8.   List all other income regularly received:
          8a. Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                           8a.        $              0.00   $               0.00
          8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
          8c. Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                          8c.        $              0.00   $               0.00
          8d. Unemployment compensation                                                        8d.        $              0.00   $               0.00
          8e. Social Security                                                                  8e.        $              0.00   $               0.00
          8f.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                      8f.  $                    0.00   $               0.00
          8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
          8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

     9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $                0.00

     10. Calculate monthly income. Add line 7 + line 9.                                    10. $              4,644.00 + $           0.00 = $           4,644.00
         Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                   0.00

     12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
         Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
         applies                                                                                                                      12.   $           4,644.00
                                                                                                                                            Combined
                                                                                                                                            monthly income
     13. Do you expect an increase or decrease within the year after you file this form?
               No.
               Yes. Explain:




    Official Form 106I                                                      Schedule I: Your Income                                                      page 2
Filed 04/16/19                                                               Case 19-22354                                                                         Doc 1



      Fill in this information to identify your case:

      Debtor 1                 Randall Lance Redmond                                                             Check if this is:
                                                                                                                     An amended filing
      Debtor 2                 Kathleen Marie Rodia                                                                  A supplement showing postpetition chapter
      (Spouse, if filing)                                                                                            13 expenses as of the following date:

      United States Bankruptcy Court for the:   EASTERN DISTRICT OF CALIFORNIA                                             MM / DD / YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                               12/15
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      Part 1:   Describe Your Household
      1. Is this a joint case?
                 No. Go to line 2.
                 Yes. Does Debtor 2 live in a separate household?

                            No
                            Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

      2.    Do you have dependents?               No
            Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
            Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

            Do not state the                                                                                                                      No
            dependents names.                                                                                                                     Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
                                                                                                                                                  No
                                                                                                                                                  Yes
      3.    Do your expenses include                     No
            expenses of people other than
            yourself and your dependents?                Yes

      Part 2:    Estimate Your Ongoing Monthly Expenses
      Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
      expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
      applicable date.

      Include expenses paid for with non-cash government assistance if you know
      the value of such assistance and have included it on Schedule I: Your Income
      (Official Form 106I.)                                                                                                       Your expenses


      4.    The rental or home ownership expenses for your residence. Include first mortgage
            payments and any rent for the ground or lot.                                                          4. $                            1,793.00

            If not included in line 4:

            4a. Real estate taxes                                                                               4a.    $                           488.00
            4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                           219.00
            4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
            4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
      5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




      Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
Filed 04/16/19                                                             Case 19-22354                                                                                     Doc 1


      Debtor 1     Randall Lance Redmond
      Debtor 2     Kathleen Marie Rodia                                                                      Case number (if known)

      6.    Utilities:
            6a. Electricity, heat, natural gas                                                     6a. $                                                 475.00
            6b. Water, sewer, garbage collection                                                   6b. $                                                  35.00
            6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 460.00
            6d. Other. Specify:                                                                    6d. $                                                   0.00
      7.    Food and housekeeping supplies                                                           7. $                                                500.00
      8.    Childcare and children’s education costs                                                 8. $                                                  0.00
      9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 75.00
      10.   Personal care products and services                                                    10. $                                                  65.00
      11.   Medical and dental expenses                                                            11. $                                                  50.00
      12.   Transportation. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                           12. $                                                 400.00
      13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  10.00
      14.   Charitable contributions and religious donations                                       14. $                                                 100.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                  15a. $                                                    0.00
            15b. Health insurance                                                                15b. $                                                    0.00
            15c. Vehicle insurance                                                               15c. $                                                  138.00
            15d. Other insurance. Specify:                                                       15d. $                                                    0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify:                                                                               16. $                                                    0.00
      17.   Installment or lease payments:
            17a. Car payments for Vehicle 1                                                      17a. $                                                  296.00
            17b. Car payments for Vehicle 2                                                      17b. $                                                  110.00
            17c. Other. Specify:                                                                 17c. $                                                    0.00
            17d. Other. Specify:                                                                 17d. $                                                    0.00
      18.   Your payments of alimony, maintenance, and support that you did not report as
            deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
      19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
            Specify:                                                                               19.
      20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
            20a. Mortgages on other property                                                     20a. $                                                     0.00
            20b. Real estate taxes                                                               20b. $                                                     0.00
            20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
            20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
            20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
      21.   Other: Specify:                                                                        21. +$                                                   0.00
      22. Calculate your monthly expenses
          22a. Add lines 4 through 21.                                                                                     $                       5,264.00
          22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
            22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,264.00
      23. Calculate your monthly net income.
          23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,031.00
          23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,264.00

            23c. Subtract your monthly expenses from your monthly income.
                 The result is your monthly net income.                                                           23c. $                                -233.00

      24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
               No.
               Yes.             Explain here:




      Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
Filed 04/16/19                                                                Case 19-22354                                                                             Doc 1




     Fill in this information to identify your case:

     Debtor 1                    Randall Lance Redmond
                                 First Name                     Middle Name             Last Name

     Debtor 2                    Kathleen Marie Rodia
     (Spouse if, filing)         First Name                     Middle Name             Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                           Check if this is an
                                                                                                                                          amended filing



    Official Form 106Dec
    Declaration About an Individual Debtor's Schedules                                                                                                          12/15

    If two married people are filing together, both are equally responsible for supplying correct information.

    You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
    obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
    years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                           Sign Below


            Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                    No

                    Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                    Declaration, and Signature (Official Form 119)


           Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
           that they are true and correct.

            X /s/ Randall Lance Redmond                                                 X   /s/ Kathleen Marie Rodia
                  Randall Lance Redmond                                                     Kathleen Marie Rodia
                  Signature of Debtor 1                                                     Signature of Debtor 2

                  Date       April 15, 2019                                                 Date    April 15, 2019




    Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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     Fill in this information to identify your case:

     Debtor 1                  Randall Lance Redmond
                               First Name                       Middle Name                  Last Name

     Debtor 2                  Kathleen Marie Rodia
     (Spouse if, filing)       First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                                  Check if this is an
                                                                                                                                                 amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

     Part 1:        Give Details About Your Marital Status and Where You Lived Before

    1.     What is your current marital status?

                   Married
                   Not married

    2.     During the last 3 years, have you lived anywhere other than where you live now?

                   No
                   Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

            Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                     lived there                                                                     lived there

    3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

     Part 2         Explain the Sources of Your Income

    4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
           Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
           If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

                   No
                   Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income             Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                        exclusions)                                                  and exclusions)

     From January 1 of current year until                 Wages, commissions,                       $21,000.00           Wages, commissions,                        $0.00
     the date you filed for bankruptcy:                                                                                bonuses, tips
                                                       bonuses, tips

                                                           Operating a business                                           Operating a business




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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Filed 04/16/19                                                                  Case 19-22354                                                                                  Doc 1
     Debtor 1      Randall Lance Redmond
     Debtor 2      Kathleen Marie Rodia                                                                        Case number (if known)


                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income                   Sources of income                Gross income
                                                       Check all that apply.            (before deductions and         Check all that apply.            (before deductions
                                                                                        exclusions)                                                     and exclusions)

     For last calendar year:                              Wages, commissions,                       $87,480.00           Wages, commissions,                           $0.00
     (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                       bonuses, tips

                                                           Operating a business                                           Operating a business


     For the calendar year before that:                   Wages, commissions,                       $93,493.00           Wages, commissions,                           $0.00
     (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                       bonuses, tips

                                                           Operating a business                                           Operating a business


    5.    Did you receive any other income during this year or the two previous calendar years?
          Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4.

                No
                Yes. Fill in the details.

                                                       Debtor 1                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income                Gross income
                                                       Describe below.                  each source                    Describe below.                  (before deductions
                                                                                        (before deductions and                                          and exclusions)
                                                                                        exclusions)

     Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

    6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
               No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                     individual primarily for a personal, family, or household purpose.”

                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                              No.      Go to line 7.
                              Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                     paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                     not include payments to an attorney for this bankruptcy case.
                         * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

                Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                              No.      Go to line 7.
                              Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                       include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                       attorney for this bankruptcy case.


           Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                         paid            still owe
           Internal Revenue Service                                  $3,805.00 paid in              $3,805.00                 $0.00            Mortgage
           Attn: Bankruptcy Dept.                                    taxes when 2018                                                           Car
           P.O. Box 7346                                             federal income tax                                                        Credit Card
           Philadelphia, PA 19101-7346                               returns were filed                                                        Loan Repayment
                                                                     in March 2019
                                                                                                                                               Suppliers or vendors
                                                                                                                                               Other




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 2
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     Debtor 1      Randall Lance Redmond
     Debtor 2      Kathleen Marie Rodia                                                                        Case number (if known)


    7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
          Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
          of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
          a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
          alimony.

                No
                Yes. List all payments to an insider.
           Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe

    8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
          insider?
          Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
           Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                         paid            still owe       Include creditor's name

     Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

    9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
          List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
          modifications, and contract disputes.

                No
                Yes. Fill in the details.
           Case title                                                Nature of the case         Court or agency                          Status of the case
           Case number

    10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
        Check all that apply and fill in the details below.

                No. Go to line 11.
                Yes. Fill in the information below.
           Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                                 property
                                                                     Explain what happened

    11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
        accounts or refuse to make a payment because you owed a debt?
                No
                Yes. Fill in the details.
           Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                                  taken

    12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
        court-appointed receiver, a custodian, or another official?

                No
                Yes

     Part 5:      List Certain Gifts and Contributions

    13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
                No
                Yes. Fill in the details for each gift.
           Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
           per person                                                                                                             the gifts

           Person to Whom You Gave the Gift and
           Address:


    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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     Debtor 1      Randall Lance Redmond
     Debtor 2      Kathleen Marie Rodia                                                                        Case number (if known)


    14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
                No
                Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total                Describe what you contributed                            Dates you                       Value
           more than $600                                                                                                         contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)

     Part 6:      List Certain Losses

    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
        or gambling?

                No
                Yes. Fill in the details.
           Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your       Value of property
           how the loss occurred                                                                                                  loss                            lost
                                                                Include the amount that insurance has paid. List pending
                                                                insurance claims on line 33 of Schedule A/B: Property.

     Part 7:      List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
        consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
           Email or website address                                                                                               made
           Person Who Made the Payment, if Not You
           Zitomer & Roberts, P.C.                                       Attorney Fees                                            March 2019                $3,165.00
           3420 Coach Lane
           Ste. 8A
           Cameron Park, CA 95682
           jonzitomer@cameornparklaw.com


    17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
        promised to help you deal with your creditors or to make payments to your creditors?
        Do not include any payment or transfer that you listed on line 16.

                No
                Yes. Fill in the details.
           Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
           Address                                                       transferred                                              or transfer was            payment
                                                                                                                                  made

    18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
        transferred in the ordinary course of your business or financial affairs?
        Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
        include gifts and transfers that you have already listed on this statement.
             No
                Yes. Fill in the details.
           Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
           Address                                                       property transferred                       payments received or debts      made
                                                                                                                    paid in exchange
           Person's relationship to you




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     Debtor 1      Randall Lance Redmond
     Debtor 2      Kathleen Marie Rodia                                                                        Case number (if known)


           Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
           Address                                                       property transferred                       payments received or debts   made
                                                                                                                    paid in exchange
           Person's relationship to you
           Jose Ramos                                                    2005 Ford F250 Pickup Truck                                             March 2019
           3343 Axford Road                                              with 212,000 miles sold for
           Santa Cruz, CA 95062                                          $6,500.00, $3,211.00 of which
                                                                         was used to pay off the
           (not related)                                                 existing truck loan, leaving
                                                                         Petitioners with net
                                                                         proceeds in the sum of
                                                                         $3,289.00, which were used
                                                                         by Petitioners to pay their
                                                                         bankruptcy retainer.

           Harold and Susan Wright                                       2006 Fleetwood Pioneer                                                  March 2019
           4285 Sara Lane                                                Travel Trailer sold for
           Placerville, CA 95667                                         $5,500.00, the proceeds of
                                                                         which were used by
           (not related)                                                 Petitioners to pay their 2018
                                                                         federal income taxes, as well
                                                                         as their annual homeowners
                                                                         insurance premium.

           Lisa Ann Esparza                                              2004 Honda XR 650 Dirtbike                                              March 2019
           11058 Santa Fe West                                           sold for $600.00 and 2007
           Hesperia, CA 92345                                            Honda Quad sold for
                                                                         $1,000.00.
           (Petitioners' daughter)


    19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
        beneficiary? (These are often called asset-protection devices.)
                No
                Yes. Fill in the details.
           Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                                 made

     Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

    20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
        sold, moved, or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
        houses, pension funds, cooperatives, associations, and other financial institutions.
                No
                Yes. Fill in the details.
           Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was          Last balance
           Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,         before closing or
           Code)                                                                                                            moved, or                      transfer
                                                                                                                            transferred

    21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

                No
                Yes. Fill in the details.
           Name of Financial Institution                                 Who else had access to it?            Describe the contents               Do you still
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                            have it?
                                                                         State and ZIP Code)




    Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 5
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     Debtor 2      Kathleen Marie Rodia                                                                             Case number (if known)


    22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

                No
                Yes. Fill in the details.
           Name of Storage Facility                                      Who else has or had access                 Describe the contents          Do you still
           Address (Number, Street, City, State and ZIP Code)            to it?                                                                    have it?
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 9:      Identify Property You Hold or Control for Someone Else

    23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
        for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                  Where is the property?                     Describe the property                      Value
           Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                         Code)

     Part 10:     Give Details About Environmental Information

    For the purpose of Part 10, the following definitions apply:

          Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

    Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

    24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    25. Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                  Governmental unit                             Environmental law, if you   Date of notice
           Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                         ZIP Code)

    26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                    Court or agency                            Nature of the case             Status of the
           Case Number                                                   Name                                                                      case
                                                                         Address (Number, Street, City,
                                                                         State and ZIP Code)

     Part 11:     Give Details About Your Business or Connections to Any Business

    27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                    A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                    A member of a limited liability company (LLC) or limited liability partnership (LLP)
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                     A partner in a partnership

                     An officer, director, or managing executive of a corporation

                     An owner of at least 5% of the voting or equity securities of a corporation

                 No. None of the above applies. Go to Part 12.
                 Yes. Check all that apply above and fill in the details below for each business.
            Business Name                                            Describe the nature of the business             Employer Identification number
            Address                                                                                                  Do not include Social Security number or ITIN.
            (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed

    28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
        institutions, creditors, or other parties.

                 No
                 Yes. Fill in the details below.
            Name                                                     Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

     Part 12:     Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
    are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
    with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

     /s/ Randall Lance Redmond                                               /s/ Kathleen Marie Rodia
     Randall Lance Redmond                                                   Kathleen Marie Rodia
     Signature of Debtor 1                                                   Signature of Debtor 2

     Date      April 15, 2019                                                Date     April 15, 2019

    Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
       No
       Yes

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
       No
       Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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     Fill in this information to identify your case:

     Debtor 1                  Randall Lance Redmond
                               First Name                       Middle Name              Last Name

     Debtor 2                  Kathleen Marie Rodia
     (Spouse if, filing)       First Name                       Middle Name              Last Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                              Check if this is an
                                                                                                                             amended filing



    Official Form 108
    Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


    If you are an individual filing under chapter 7, you must fill out this form if:
        creditors have claims secured by your property, or
      you have leased personal property and the lease has not expired.
    You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
            whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
            on the form

    If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
             sign and date the form.

    Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
            write your name and case number (if known).

     Part 1:        List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.
        Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                                   secures a debt?                                    as exempt on Schedule C?



        Creditor's         Central Loan Administration &                        Surrender the property.                     No
        name:              Reporting                                            Retain the property and redeem it.
                                                                                                                            Yes
                                                                                Retain the property and enter into a
        Description of Family home located at 3140                              Reaffirmation Agreement.
        property       Pioneer Hill Road Placerville,                           Retain the property and [explain]:
        securing debt: CA 95667 El Dorado County                              Reaffirm if necessary


        Creditor's         Golden One Credit Union                              Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        2016 Jeep Cherokee                                Reaffirmation Agreement.
        property                                                                Retain the property and [explain]:
        securing debt:                                                        Reaffirm if required


        Creditor's         Travis Credit Union                                  Surrender the property.                     No
        name:                                                                   Retain the property and redeem it.
                                                                                Retain the property and enter into a        Yes
        Description of        2006 Jeep Grand Cherokee                          Reaffirmation Agreement.
                              153000 miles

    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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     Debtor 1       Randall Lance Redmond
     Debtor 2       Kathleen Marie Rodia                                                                  Case number (if known)


         property           Needs work                                          Retain the property and [explain]:
         securing debt:                                                       Reaffirm if necessary

     Part 2:   List Your Unexpired Personal Property Leases
    For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
    in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
    You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                              Will the lease be assumed?

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Lessor's name:                                                                                                                   No
     Description of leased
     Property:                                                                                                                        Yes

     Part 3:      Sign Below

    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
    property that is subject to an unexpired lease.

     X     /s/ Randall Lance Redmond                                                    X /s/ Kathleen Marie Rodia
           Randall Lance Redmond                                                            Kathleen Marie Rodia
           Signature of Debtor 1                                                            Signature of Debtor 2

           Date        April 15, 2019                                                   Date     April 15, 2019




    Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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     Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                       122A-1Supp:
     Debtor 1              Randall Lance Redmond
     Debtor 2              Kathleen Marie Rodia                                                                1. There is no presumption of abuse
     (Spouse, if filing)
                                                                                                               2. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the:            Eastern District of California
                                                                                                                   applies will be made under Chapter 7 Means Test
                                                                                                                   Calculation (Official Form 122A-2).
     Case number
     (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.
                                                                                                               Check if this is an amended filing
    Official Form 122A - 1
    Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
    attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
    case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
    qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

     Part 1:           Calculate Your Current Monthly Income

      1. What is your marital and filing status? Check one only.
                  Not married. Fill out Column A, lines 2-11.
                  Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
                  Married and your spouse is NOT filing with you. You and your spouse are:
                     Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                     Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                     penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                     living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
        the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
        spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A                   Column B
                                                                                                           Debtor 1                   Debtor 2 or
                                                                                                                                      non-filing spouse
      2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                               $                         6,166.67        $              0.00
      3. Alimony and maintenance payments. Do not include payments from a spouse if
         Column B is filled in.                                                             $                               0.00      $              0.00
      4. All amounts from any source which are regularly paid for household expenses
         of you or your dependents, including child support. Include regular contributions
         from an unmarried partner, members of your household, your dependents, parents,
         and roommates. Include regular contributions from a spouse only if Column B is not
         filled in. Do not include payments you listed on line 3.                           $                               0.00      $              0.00
      5. Net income from operating a business, profession, or farm
                                                                           Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from a business, profession, or farm $                0.00 Copy here -> $                    0.00      $              0.00
      6. Net income from rental and other real property
                                                                                         Debtor 1
            Gross receipts (before all deductions)                            $      0.00
            Ordinary and necessary operating expenses                        -$      0.00
            Net monthly income from rental or other real property             $      0.00 Copy here -> $                    0.00      $              0.00
                                                                                                           $                0.00      $              0.00
      7. Interest, dividends, and royalties




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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     Debtor 1     Randall Lance Redmond
     Debtor 2     Kathleen Marie Rodia                                                                        Case number (if known)



                                                                                                          Column A                     Column B
                                                                                                          Debtor 1                     Debtor 2 or
                                                                                                                                       non-filing spouse
      8. Unemployment compensation                                                                        $              225.00        $            0.00
           Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here:
              For you                                          $                   0.00
                For your spouse                                          $                    0.00
      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act.                                                          $                  0.00      $            0.00
      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments
          received as a victim of a war crime, a crime against humanity, or international or
          domestic terrorism. If necessary, list other sources on a separate page and put the
          total below.
                 .                                                                                        $                  0.00      $            0.00
                                                                                                          $                  0.00      $            0.00
                      Total amounts from separate pages, if any.                                     +    $                  0.00      $            0.00

      11. Calculate your total current monthly income. Add lines 2 through 10 for
          each column. Then add the total for Column A to the total for Column B.                $       6,391.67          +   $           0.00     =   $      6,391.67

                                                                                                                                                        Total current monthly
                                                                                                                                                        income

     Part 2:        Determine Whether the Means Test Applies to You

      12. Calculate your current monthly income for the year. Follow these steps:
           12a. Copy your total current monthly income from line 11                                                 Copy line 11 here=>             $          6,391.67

                  Multiply by 12 (the number of months in a year)                                                                                           x 12
           12b. The result is your annual income for this part of the form                                                                    12b. $          76,700.04

      13. Calculate the median family income that applies to you. Follow these steps:

           Fill in the state in which you live.                                 CA

           Fill in the number of people in your household.                        2
           Fill in the median family income for your state and size of household.                                                             13.   $         77,167.00
           To find a list of applicable median income amounts, go online using the link specified in the separate instructions
           for this form. This list may also be available at the bankruptcy clerk’s office.
      14. How do the lines compare?
           14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                          Go to Part 3.
           14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                          Go to Part 3 and fill out Form 122A-2.
     Part 3:        Sign Below
                  By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

                 X /s/ Randall Lance Redmond                                              X /s/ Kathleen Marie Rodia
                    Randall Lance Redmond                                                      Kathleen Marie Rodia
                    Signature of Debtor 1                                                      Signature of Debtor 2
            Date April 15, 2019                                                        Date April 15, 2019
                 MM / DD / YYYY                                                             MM / DD / YYYY
                  If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.



    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                       page 2
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     Debtor 1    Randall Lance Redmond
     Debtor 2    Kathleen Marie Rodia                                                                 Case number (if known)




                                                       Current Monthly Income Details for the Debtor

    Debtor Income Details:
    Income for the Period 10/01/2018 to 03/31/2019.

    Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
    Source of Income: Employer : Folsom Lake RV
    Constant income of $3,666.67 per month.*



    Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
    Source of Income: Employer : Vallejo CJD
    Constant income of $2,500.00 per month.*



    Line 8 - Unemployment compensation (included in CMI)
    Source of Income: UI
    Income by Month:
     6 Months Ago:                                    10/2018                     $0.00
     5 Months Ago:                                    11/2018                     $0.00
     4 Months Ago:                                    12/2018                 $1,350.00
     3 Months Ago:                                    01/2019                     $0.00
     2 Months Ago:                                    02/2019                     $0.00
     Last Month:                                      03/2019                     $0.00
                                     Average per month:                         $225.00




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                       page 3
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     Debtor 1     Randall Lance Redmond
     Debtor 2     Kathleen Marie Rodia                                                                Case number (if known)




    *Paycheck Details:

    Folsom Lake RV

                Date                                             Earnings        Overtime             Taxes                     Other   Net Check
                Salary X5                                        4,000.00             0.00           963.00                    715.00    2,322.00
                Salary X2                                        1,000.00             0.00           106.00                      0.00      894.00

                Totals:                                          5,000.00             0.00         1,069.00                    715.00    3,216.00

    Vallejo CJD

                Date                                             Earnings        Overtime             Taxes                     Other   Net Check
                2018-10-19                                      4,666.00              0.00           856.00                      0.00    3,810.00
                2018-11-15                                     10,334.00              0.00         2,026.00                      0.00    8,308.00

                Totals:                                        15,000.00              0.00         2,882.00                      0.00   12,118.00




    Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                    page 4
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    B2030 (Form 2030) (12/15)
                                                                   United States Bankruptcy Court
                                                                         Eastern District of California
                 Randall Lance Redmond
     In re       Kathleen Marie Rodia                                                                             Case No.
                                                                                      Debtor(s)                   Chapter       7

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
    1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
           compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
           be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
                 For legal services, I have agreed to accept                                                  $                     3,165.00
                 Prior to the filing of this statement I have received                                        $                     3,165.00
                 Balance Due                                                                                  $                        0.00

    2.     The source of the compensation paid to me was:

                      Debtor                  Other (specify):

    3.     The source of compensation to be paid to me is:

                      Debtor                  Other (specify):

    4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

                I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
                copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

    5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

           a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
           b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
           c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
           d.   [Other provisions as needed]


    6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
                   Filing or defense of motions, complaints or other adversarial or contested matters, additional required
                   appearances at hearings (other than at the FMOC), or any other legal services that are not specificially included
                   within the terms of Petitioners retainer agreement.
                                                                               CERTIFICATION
           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
     this bankruptcy proceeding.

         April 15, 2019                                                               /s/ Jon L. Zitomer
         Date                                                                         Jon L. Zitomer 98754
                                                                                      Signature of Attorney
                                                                                      Zitomer & Roberts, P.C.
                                                                                      3420 Coach Lane
                                                                                      Ste. 8A
                                                                                      Cameron Park, CA 95682
                                                                                      530-676-8041 Fax: 530-676-8039
                                                                                      jonzitomer@cameornparklaw.com
                                                                                      Name of law firm




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                                 PayPal Credit - Synchrony Bank
                                P.O. Box 5138
                                Timonium, MD 21094


                                AT&T Universal Card
                                P.O. Box 78045
                                Phoenix, AZ 85062-8045


                                Bank of America
                                Attn: Credit Card Services
                                P.O. Box 15019
                                Wilmington, DE 19886-5019


                                Barclay's Bank Delaware
                                P.O. Box 8803
                                Wilmington, DE 19899-8803


                                Capital Management Services
                                (Collection for Discover Bank)
                                698 1/2 S. Ogden Street
                                Buffalo, NY 14206-2317


                                Capital One Services
                                P.O. Box 70886
                                Charlotte, NC 27272-9903


                                Capital One Services
                                P.O. Box 70886
                                Charolotte, NC 27272-9903


                                Care Credit/Synchrony Bank
                                P.O. Box 965060
                                Orlando, FL 32896


                                Central Loan Administration & Reporting
                                P.O. Box 77404
                                Ewing, NJ 08628


                                Chase Card Services
                                Attn: Cardmember Services
                                P.O. Box 15548
                                Wilmington, DE 19886-5548
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                                Chase Southwest
                                Cardmember Services
                                P.O. Box 15548
                                Wilmington, DE 19886-5548


                                Chevron/Synchrony Bank
                                Attn: Cardmember Services
                                P.O. Box 105980
                                Atlanta, GA 30353


                                Citi Cards
                                Attn: Credit Card Services
                                P.O. Box 78045
                                Phoenix, AZ 85062-8045


                                Citi Cards
                                Attn: Credit Card Services
                                P.O. Box 78019
                                Phoenix, AZ 85062-8019


                                Citi Cards - AT&T Universal Card
                                Attn: Credit Card Services
                                P.O. Box 78045
                                Phoenix, AZ 85062-8045


                                Citibanks - Shell Card
                                Credit Card Services
                                P.O. Box 6402
                                Sioux Falls, SD 57117-6402


                                Comenity - HSN
                                P.O. Box 659707
                                San Antonio, TX 78265-9707


                                Comenity - Improvements
                                P.O. Box 659707
                                San Antonio, TX 78265-9707


                                Discover Card Services
                                P.O. Box 6103
                                Carol Stream, IL 60197-6103


                                El Dorado Cty Treasurer - Tax Collector
                                360 Fair Lane
                                Placerville, CA 95667
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                                First National Bank of Omaha
                                Credit Card Services
                                P.O. Box 2557
                                Omaha, NE 68103-2557


                                Golden One Credit Union
                                P.O. Box 15966
                                Sacramento, CA 95852


                                Home Depot Credit Services
                                P.O. Box 78011
                                Phoenix, AZ 85062-8011


                                Mission Federal Credit Union
                                Credit Card Services
                                P.O. Box 919023
                                San Diego, CA 92191-9023


                                PayPal Credit - Synchrony Bank
                                P.O. Box 5138
                                Timonium, MD 21094


                                PayPal Credit Services - Synchrony Bank
                                P.O. Box 965060
                                Orlando, FL 32896-5060


                                Phillips & Cohen Associates, Ltd.
                                (Collection for Barclays Bank Delaware)
                                Mail Stop 661
                                104 Justison Street
                                Wilmington, DE 19801-5148


                                Sears Credit/Citibank
                                Attn: Cardmember Services
                                P.O. Box 78051
                                Phoenix, AZ 85062-8051


                                Sychrony Bank - Amazon
                                Attn: Bankruptcy Dept.
                                P.O. Box 965060
                                Orlando, FL 32896-5060


                                Sychrony Bank - Evine
                                Attn: Bankruptcy Dept.
                                P.O. Box 965060
                                Orlando, FL 32896-5060
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                                Sychrony Bank - QCard
                                Attn: Bankruptcy Dept.
                                P.O. Box 965060
                                Orlando, FL 32896-5060


                                Target Card Services
                                P.O. Box 660170
                                Dallas, TX 75266-0170


                                TJX Rewards/SYNCB
                                Cardmember Services
                                P.0. Box 965060
                                Orlando, FL 32896-5060


                                Tractor Supply - Citibank
                                P.O. Box 6403
                                Sioux Falls, SD 57117-6403


                                Travis Credit Union
                                P.O. Box 2069
                                Vacaville, CA 95696


                                Union Bank
                                Credit Card Services
                                P.O. Box 60398
                                Phoenix, AZ 85082-0398


                                Union Bank
                                P.o. Box 512380
                                Los Angeles, CA 90051-0380


                                US Bank
                                Credit Card Services
                                P.O. Box 108
                                Saint Louis, MO 63166-0108


                                Walmart Mastercard/Synchrony Bank
                                P.O. Box 965060
                                Orlando, FL 32896
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                                                                UNITED STATES BANKRUPTCY COURT
                                                                 EASTERN DISTRICT OF CALIFORNIA

                                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR(S)

                         The Purpose of this notice is to acquaint you with the four chapters of the Bankruptcy Code under
                 which you may file a bankruptcy petition. The bankruptcy law is complicated and not easily described.
                 Therefore, you should seek the advice of an attorney to learn of your legal rights and responsibilities should
                 you decide to file a petition. Court employees are prohibited from giving you legal advice.

    Chapter 7:              Liquidation ($245 filing fee plus $75 administrative fee and $15 Trustee fee)
              Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Under chapter
    7, a trustee takes possession of all your property. You may claim certain property exempt under governing law. The trustee then
    liquidates the property and uses the proceeds to pay your creditors according to priorities set forth in Bankruptcy Code.

              The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
    committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the
    purpose for which you filed bankruptcy will be defeated. Even if you receive a discharge, there are some debts that are not discharged
    under the law. Therefore, you may still be responsible for certain taxes and student loans, alimony and support payments, criminal
    restitution, and debts for death or personal injury caused by driving while intoxicated from alcohol or drugs.

             Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your
    attorney can explain the options that are available to you.

    Chapter 11:             Reorganization ($1,167 filing fee plus $550 administrative fee)
            Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions
    are complex and the decision to file a chapter 11 petition should be made in consultation with an attorney.

    Chapter 12:             Family Farmer ($200 filing fee plus $75 administrative fee)
            Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many
    ways similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
    family-owned farm.

    Chapter 13:             Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee plus
                            $75 administrative fee)
              Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to
    pay them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
    set forth in the Bankruptcy Code.

             Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using
    your future earnings. Usually the period allowed by the court to repay debts is three years, but no more than five years. Your plan
    must be approved by the court before it can take effect. Under chapter 13, unlike chapter 7, you may keep all your property, both
    exempt and non-exempt, as long as you continue to make payments under the plan.

             After completion of payments under your plan, your debts are discharged except alimony and support payments, student
    loans, certain other debts including criminal fines and restitution and debts for death or personal injury caused by driving while
    intoxicated from alcohol or drugs, and long term secured obligations.




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